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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

      Plaintiff,

      v.                               Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et al.,

      Defendants.




                                EXHIBIT B




                                                                            001
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,

       Plaintiff,

       v.                                         Civil Action No. 1:22-cv-00027-TSC

ROBERT J. CONTEE III, et. al.,

       Defendants.



                            DECLARATION OF LANA CRAVEN

       I, LANA CRAVEN, state that the following:

       1.      I am the Program Analyst for the District of Columbia Office of Risk

Management (ORM), Tort Liability Division.

       2.      ORM receives, processes, and investigates potential claims against the District of

Columbia.

       3.      Receipt of written notice of claims against the District of Columbia is forwarded

directly to ORM for processing. When ORM receives notices of claims, either directly or from

the Mayor’s Office, it records the receipt of the notices of claims in its claims management

system, called the “Risk Management System.”

       4.      ORM commenced receiving potential claims on January 15, 2004. Claims

previously handled by the Claims Unit for the Office of the Attorney General still under

investigation as of January 15, 2004, were also transferred to ORM, and recorded in ORM’s Risk

Management System.

       5.      I have conducted a diligent search of the records placed in ORM’s Risk

Management System. The result of this search has revealed that as of May 18, 2022, ORM did



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not receive a notice of claim from or on behalf of Victoria Charity White about any claimed

losses.

          I declare under penalty of perjury, under 28 U.S.C. § 1746 and Super. Ct. Civ. R. 9-I, that

to the best of my knowledge, information and belief, the foregoing is true and correct.



Date: 7/5/2022                                  Signature: Lana Craven




                                                Lana Craven
                                                Program Analyst
                                                Office of Risk Management
                                                (202)727-9413




                                                                                                 003
